UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

DERRICK LEE CARBELUO-SMITH apy rs t..
Plaintiff, VENT eee oe CPE IOP

274. NO
va cee Rg boodleven bis?

HONORAGLE BRANBY MCMILUTON
SEAN COMBS, et el,
Defendant,

WOTICE GF REMQVAL TO THE UNITED
STATES DISTRICT COUAT FOR THE SOTHERN
DISTRICT OF NEW YGRK AS THE COURT

OF CORRECT tluRTSDICTION.FOR_CIVIU ACTION .FIVED

Plaintiff, Derrick Uee Cardelle-Smith, reepectfully states thet this Actien
is hereby Remeved te the Cerrect Ceurt ef Juriedictien and eaid Jurisdictien
baing in the fellewing Ceurt:

UNITED STATES BISTRIECT COURT
FOR THE SOUTHERN DIVISION OF NEW YORK
500 PEARL STREET-Reem 120
NEW YORK, NEW YORK 18007

The remevel is based en the fellewing Fectere and Statensnta herein belew.

1. The Case hae been filed aa « Breach ef Centract by the Defandent(s) end
primarily, Sean Combe.

2. Bafendant Sean Cembs reeides in the State ef Hew Yerk,

3. The Ceurt fer New Yerk hes Specific Persenel Jurisdiction ever Befendant
Sean Cembs Pursuant te 28 U.S.C.§ 1332.

&. The New Yerk Court has Juriedictien because this Case is between Citizens
ef Different States, .

5. Plaintiff etetes thet the Assunt in centreverey exceeds $75,000.00.

5. TOhe New VYerk Ceurt has mere specific jurisdictien ever Defendant Sean
Cembs ae he net enly resides currently in New Yerk, but the Acta sf the
Centract Signing teek plece in New Yerk es well as Michigen, giving the New
Yerk ceaurt Jurisdictien.

6. venue is Ales preper in New Yerk es that seme ef the omlasians giving
ruse te the clains sccurred end fall within the District of New Yerk as well
ae Michigan.

7. Plaintiff alse signed Ons af the Multiple Centracts in dispute and
Cantroversy in the State ef New Yerk and alee, Defendant Ssen Cembs Signed the
Co-Pleintiffs Decuments anc Contract in Mew York as well, giving the New Yerk
Court jJurisdictien ever this Matter.

Aa auch, the Plaintiff hereby gives netice te the District er Michigan and is
a Multi-Jurledictien Matter and sheuld be transferred te the US District Ceurt
fer the Seuthern Sistrict ef New Yerk.

Case 2:24-cv-13245-BRM-DRG ECF No. 1, PagelD.2 Filed 12/05/24 Page 2 of 4
This matter sles is within the Ceurts Autherity te transfer this Ceee te the

District ef New Yerk and is therefere asked and Netice te be vemeved te the
Ceurt of few Yerk in sccerdence with the Federal Rules ef Civil Precedure and

Traneferring ef Cases.
RELIEF SOUGHT

wWherefere, this Case is remevad frem the Eastern Pistrict ef Michigan and
Transferred te the Seuthern District ef New Yerk.

Thank yeu fer yeur time in this matter.

Mr. Der
- Plaintiff in Pre Per
#267009

E.C. Breske Cerrectienal Facility
2500 S. Sheridan Drive

Muskegon, MI 49444

11-7=24

Berrick Uee Cardelie-Seith
#267009
£.C. Breekes Cerractienal Facility
2500 §. Sheridan Drive
Muakagen, MI 49444

Nevember 7, 2024
Clerk ef the Ceurt
Seuthern District ef New Yaerk
500 Paerl Streat-Reem 120
few Yerk, New Yerk 10007
Derrick Ues Cardelle-Saith ve. Sean Cembe
Case ne 2:26-cv-12737

Deer Clerk:

Please find enclesed the fellewing dscuments fer placement end actien by the
Clerks Office.

4. WOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
DISTRICT DF NEW YORK AS THE COURT OF CORRECT JURISDICTION FOR CIVIL ACTION
FILED.

PROOF OF SERVICE

Please netify me when the Clerks effice has precessed thie Pleading end
Transferred the Case.

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United Stetes pietrict Ceurt

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for, the Sat pearl Strest-Reer 120

New York, New yerk 10007

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